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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

MELISSA BOHANNAN,                        )
CHERISA HALL, MARY ELLEN                 )
PROPHET, JENNIFER                        )
MATHENY, TIFFANY McCOY,                  )
ASHLEY McGHEE, SHERRIE                   )
SALEM, SUMMER LISENBY,                   )
JOLIE HARPER, and CRYSTAL                )
SHELLEY,                                 )
                                         )
            Plaintiffs,                  )
                                         )
      v.                                 )      CASE NO. 1:16-CV-272-WKW
                                         )
INNOVAK INTERNATIONAL,                   )
INC.,                                    )
                                         )
            Defendant.                   )

                                     ORDER

      It is ORDERED that the stay entered on February 22, 2018 (Doc. # 87) is

LIFTED. It is further ORDERED that, upon consideration of the parties’ Joint

Stipulation of Dismissal (Doc. # 93), which comports with Rule 41(a)(1)(A)(ii) of

the Federal Rules of Civil Procedure, this action has been dismissed with prejudice

by operation of Rule 41, on the terms agreed to by the parties. The Clerk of the

Court is DIRECTED to close this case.

      DONE this 28th day of February, 2019.

                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
